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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TANYA GILL, )
)
Plaintiff, )
) Case No. 12 CV 2963
VS. )
) Honorable John J. Tharp, Jr.
VILLAGE OF MELROSE PARK, et al. ) Magistrate Judge Sheila M. Finnegan
)
Defendants. )

SWORN AFFIDAVIT OF DENNIS NATALE

I, DENNIS NATALE, being first duly sworn upon oath, do state and depose that I have

personal knowledge of all facts which follow and, if called, ] could testify to the following:

1. lam a police officer employed by the Village of Melrose Park.
2. I was working in my capacity as a patrol officer on April 2, 2011.
3. At approximately 11:42 p.m. I responded to a dispatched report of a potential

battery at the I-Bar located at 2010 W. North Avenue in Melrose Park, [llinois,

4, Upon arriving at the scene, | exited my police vehicle and entered the I-Bar. |
remained inside and interviewed witnesses. On at least one occasion I walked out of the I-Bar
and spoke with bar patrons and security personnel outside of the I-Bar. | then reentered the I-
Bar.

5. I interviewed approximately six people concerning the alleged battery. There
were no witnesses. I also spoke with I-Bar bartender who stated that she did not witness the
alleged battery.

6. 1 exited the J-Bar and directed patrons within the I-Bar parking lot to either enter

the I-Bar or leave the scene immediately. [ then continued my patrol duties.

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7, I had no physical or verbal contact whatsoever with Ms. Tanya Gill.
8. I did not observe any interaction between Officer Migliore and Ms. Gill.

Further affiant sayeth not.

DAthel

DENNIS NATALE

SUBSCRIBED and SWORN to before
me this? ‘day of February, 2013.

Pasar, (eee

“NOTARY PUBLIC

BAe AAAAAAAAAAAAAAAAAARAAARAAAD ARE

OFFICIAL SEAL
MARCIA CUCCI

§ NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires 03/12/2015

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